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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             4:98CR140-3
                                             )
               Plaintiff,                    )
                                             )
vs.                                          )             ORDER
                                             )
FRANK SHAMBURGER,                            )
                                             )
               Defendant.                    )

         At the oral request of government’s counsel,

       IT IS ORDERED that Defendant Shamburger’s initial appearance on the petition for
offender under supervision (filing 136) is scheduled on Wednesday, December 21, 2005, at
1:30 p.m., before the undersigned United States District Judge, in Courtroom No. 1, Robert
V. Denney Federal Building and United States Courthouse, Lincoln, Nebraska. The
defendant shall be present unless excused by the court.

         December 15, 2005.                       BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
